                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:22-CV-15-FL

  ROBERT TERRACINO and
  BRADIE TERRACINO, Individuals,

          Plaintiffs,                                                 ORDER

  v.

  TRIMACO, INC.,

          Defendant.



       This matter is before the Court on the Joint Motion of Plaintiffs Robert and Bradie
Terracino (“Plaintiffs”) and Defendant Trimaco, Inc. (“Defendant”) to Modify the Scheduling
Order. Plaintiffs and Defendant seek to modify the scheduling order. Deadlines set in previous
case management orders not altered herein remain in effect, except as set forth as follows:


 Report from Plaintiffs’ retained damages         October 11, 2024
 expert, as required by Federal Rule of Civil
 Procedure 26(a)(2)

 Disclosures required by Federal Rule of Civil    October 11, 2024
 Procedure 26(a)(2), including reports from
 retained experts, to be served by defendant

 Disclosures and reports by any rebuttal          October 11, 2024
 experts to Plaintiffs’ infringement expert due

 Disclosures and reports by any rebuttal          October 25, 2024
 experts to Plaintiffs’ damages expert due

 Disclosures and reports by any rebuttal          October 25, 2024
 experts to Defendant’s infringement expert
 due

 Close of expert discovery                        November 26, 2024




          Case 5:22-cv-00015-FL Document 93 Filed 09/25/24 Page 1 of 2
      WHEREFORE, IT IS HEREBY ORDERED that Plaintiffs’ and Defendant’s Joint Motion

to Modify the Scheduling Order is hereby GRANTED.

      SO ORDERED this the 25th day of September, 2024.


                    BY:
                           __________________________________
                           LOUISE W. FLANAGAN
                           United States District Judge




                                          2
         Case 5:22-cv-00015-FL Document 93 Filed 09/25/24 Page 2 of 2
